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                              EXHIBIT 20
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 Detroit Axle Equipment

    •   2000 8 Mile Ferndale, MI, 48220
           o 8x Dell Optiplex 27" 7770 Touch -Verbal/Email/Text Approval by CEO or COO – Invoice
               12730
           o 6x Ergotron LX Desk Mount -Verbal/Email/Text Approval by CEO or COO – Invoice 12730
           o 2x Lenovo 22" ThinCentre Tiny In One 21.5" Monitor with Speaker and Webcam -
               Verbal/Email/Text Approval by CEO or COO – Invoice 12716
           o 2x Lenovo ThinkCentre Tiny M75Q -Verbal/Email/Text Approval by CEO or COO –
               Invoice 12716
           o 1x Samsung Galaxy Tab A - 10.1 -Verbal/Email/Text Approval by CEO or COO – Invoice
               12836
           o 1x Samsung Galaxy 10.1 Shockproof Case with Hand Strap -Verbal/Email/Text Approval
               by CEO or COO – Invoice 12836
           o 1x Samsung Galaxy 8.0 Protective Case with Hand Strap -Verbal/Email/Text Approval by
               CEO or COO – Invoice 12836
           o 1x Rolling Tablet Stand -Verbal/Email/Text Approval by CEO or COO – Invoice 12836
           o 1x Zebra DS2278 Cordless Handheld Scanner -Verbal/Email/Text Approval by CEO or
               COO – Invoice 12836
           o 1x Metal Basket Add-On – Verbal/Email/Text Approval by CEO or COO – Invoice 12836
           o 1x Kensington 6 Outlet Surge Strip - Verbal/Email/Text Approval by CEO or COO -
               Invoice 12836
           o 1x Dell PowerEdge R440 – Verbal/Email/Text Approval by CEO or COO – Invoice 12980
           o 4x HP LaserJet M402 -Verbal/Email/Text Approval by CEO or COO – Invoice 12953
           o 1x Ubiquiti 8 Port 60W Switch -Verbal/Email/Text Approval by CEO or COO - Invoice
               12358
           o 4x Ubiquiti Unifi Nano-HD Access Points - Verbal/Email/Text Approval by CEO or COO –
               Invoice 12358
           o 4x Ubiquiti Unifi Long Range Access Points -Verbal/Email/Text Approval by CEO or COO
               – Invoice 12358
    •   9800 Mt. Elliot, Detroit MI 48211
           o 1x Dell PowerEdge R440 - Q#21462 – Invoice 12952
           o 14x Motorola MC55A Handheld Computer - Verbal/Email/Text Approval by CEO or COO
               – Invoice 12838
           o 2x Cisco Meraki MX84 Cloud Managed Security Appliance - Q#21462- Invoice 12951
           o 1x Ubiquiti UniFi Cloud Key Gen 2 - Q#21462 – Invoice 12951
           o 1x Ubiquiti UniFi Switch 16 XG - Q#21462 - Invoice 12951
           o 1x Ubiquiti UniFi Redundant Power System - Q#21462 - Invoice 12951
           o 7x Ubiquiti Unifi Switch Pro 24 POE - Q#21462 - Invoice 12951
           o 49x Ubiquiti UniFi Long Range Access Point - Q#21462 - Invoice 12951
           o 1x Tripplite 24U Cabinet - Q#21462 – Invoices 13223
           o 6x Tripplite 9U Wall Mount Cabinet - Q#21462 - Invoices 13223
           o 5x Tripplite 22000VA UPS - Q#21462 - Invoices 13223
           o 1x Ubiquiti Unifi Switch Pro 48 POE - Q#21462 - Invoices 13223
           o 4x Ubiquiti Unifi Switch Pro 24 POE - Q#21462 - Invoices 13223
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          o   16x Ubiquiti Unifi Long Range Access Points - Q#21462 - Invoice 12951
          o   1x Ubiquiti 8 Port 60W Switch - Verbal/Email/Text Approval by CEO or COO – Invoice
              12951
          o   1x Ubiquiti SFP+ MM Module (20 Pack) - Q#21462 - Invoices 13223
          o   1x Cloud Key G2 Rack Mount - Q#21462 - Invoices 13223
          o   2x Dell OptiPlex 3070 Micro - Q#21465/Verbal/Email/Text Approval by CEO or COO -
              Invoice 13224
          o   2x Dell Optiplex Micro All in One Stand - Q#21465/Verbal/Email/Text Approval by CEO
              or COO - Invoice 13224
          o   4x Dell 22” E-Series Monitor - Q#21465/Verbal/Email/Text Approval by CEO or COO -
              Invoice 13224
          o   6x Hikvision 4 MP ColorVu Cameras -Verbal/Email/Text Approval by CEO or COO –
              Invoice 12380
          o   16x Hikvision 4mm Outdoor Turret Camera - Verbal/Email/Text Approval by CEO or COO
              – Invoice 12380
          o   1x Hikvision 32-Channel NVR with 16TB – Verbal/Email/Text Approval by CEO or COO –
              Invoice 12380
          o   2x Hikvision 4mm Night Vision Camera - Verbal/Email/Text Approval by CEO or COO –
              Invoice 12380
          o   14x 2U Horizontal Cable Management - Q#21462 - Invoice 13223
          o   6x Tripplite Web Management Card - Q#21462 - Invoice 13223
          o   35x Commscope CAT6 PVC 1,000ft – Q#21462 – Invoice 13223
          o   200x Leviton CAT6 Jacks – Q#21462 - Invoice 13223
          o   750x Thomas and Betts Beam Claims - Q#21462 - Invoice 13223
          o   750x 2’ Bridle Rings - Q#21462 - Invoice 13223
          o   3x 6 Strand Multi-Mode Fiber Assembly - Q#21462 - Invoice 13223
